Case 5:96-cV-00091-DF-HWI\/| Document 1967 Filed 03/17/98_ Page 1 of 6 Page|D #: 49867

IN THE UNITED sTATEs DIsTRIc§r cofi`
EASTERN DISTRICT oF TEX§AS
TEXARKANA DIVISION § MAR § 7 999

THE STATE OF TEXAS
Plaintiff

V.

THE AMERICAN TOBACCO
COMPANY; R.J. REYNOLDS
TOBACCO COMPANY; BROWN &
WILLIAMSON TOBACCO
CORPORATION; B.A.T.
INDUSTRIES, P.L.C.; PHILIP
MORRIS, INC.; LIGGETT GROUP,
INC.; LORILLARD TOBACCO
COMPANY, INC.; UNITED STATES
TOBACCO COMPANY; HILL &
KNOWLTON, INC.; THE COUNCIL
FOR TOBACCO RESEARCH - USA,
INC. (Successor to the Tobacco Institute
Research Committee); and THE
TOBACCO INSTITUTE, INC.,
Defendants

&O?W>W€MWJCMOO?WOOQWOOOQWDW§¢UDWJWJCO¢W>W>WJ

 

’"§;ERN D|S`l”?ilCT OF TEXAS
1

 

 

§

 

   

‘z
U.€~§. il`sii§;ll"i"§l€'i` CULH~ET

§
GAV!D .], fit §

11 ,cLEHK `_

CIVIL NO. 5:96-CV-0091

SUPPLEMENTAL AMICUS BRIEF OF 104 TEXAS COUNTIES
PERTAINING TO THE SETTLEMENT AGREEMENT

 

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COME 104 Texas Counties, as friends of the court, and file this supplemental

amicus brief pertaining to the settlement agreement in this case. This brief is submitted to

supplement and modify the identification of the amici; the arguments presented remain

unchanged. The amici respectfully show the court as follows:

 

Case 5|:96-cV-00091-DF-HWI\/| Document 1967 Filed 03/17/98 Page 2 of 6 Page|D #: 49868

I.
IDENTIFICATION OF THE AMICI

The friends of the court consist of the following 104 Texas counties:

Anderson County, Angelina County, Archer County, Atascosa County, Austin County,
Bandera County, Baylor County, Blanco County, Bowie County, Brazos County,
Brewster County, Briscoe County, Brooks County, Camp County, Cass County, Callahan
County, Clay County, Cochran County, Coleman County, Comal County, Crosby
County, Dallam County, Deaf Smith County, Delta County, Dewitt County, Duval
County, Erath County, Fannin County, Fayette County, Franklin County, Frio County,
Freestone County, Gaines County, Gillespie County, Gregg County, Grimes County,
Guadalupe County, Hale County, Hall County, Hardeman County, Hardin County,
Henderson County, Hockley County, Hopkins County, Houston County, Howard County,
Hunt County, Hutchinson County, Irion County, Jack County, Jefferson County, Jim
Hogg County, Jirn Wells County, Johnson County, Jones County, Kimble County, King
County, Kinney County, Lamar County, La!nb County, Lampasas County, Lavaca
County, Lee County, Llano County, Madison County, Mason County, Medina County,
Menard County, Mills County, Montague County, Morris County, Navarro County,
Newton County, Ochiltree County, Orange County, Parker County, Parmer County,
Pecos County, Polk County, Red River County, Refugio County, Runnels County, Rusk
County, Sabine County, San Jacinto County, San Patricio County, San Saba County,
Scurry County, Shackelford County, Stephens County, Stonewall County, Swisher
County, Taylor County, Terrell County, Throckmorton County, Trinity County, Upshur
County, Val Verde County, Victoria County, Washington County, Wharton County,
Wichita County, Winkler County, Wise County

In the original amicus brief, filed on behalf of 97 Texas Counties, El Paso County and §
Burnet County were erroneously identified as friends of the court and have been removed from
this corrected version. In addition, since the filing of the original amicus brief, the following
'l`exas Counties have joined with amici: Atascosa County, Brazos County, Crosby County,
DeWitt County, Jones County, Lavaca County, Ochiltree County, Orange County and San
Patricio County, These counties are now listed above, and the friends of the court now consist of
104 Texas Counties.

These counties are political subdivisions of the State of TeXas. Each of these counties

believes it has incurred significant damages that can be attributed to the conduct of Defendants in

Case 5:96-cV-00091-DF-HWI\/| Document 1967 Filed 03/17/98 Page 3 of 6 Page|D #: 49869

this case. These damages consist primarily of medical services and expenses provided indigent
residents of these counties from county funds, but may also include costs pertaining to the county
retirement system and the health care benefits provided county employees and dependents These
damages are separate and distinct from the damages alleged by the State in this case. Moreover,
these damages are not addressed in the Settlement agreement previously approved by the court in
this case.

The interests of these counties cannot be adequately represented by any party or attempted
intervenor in this case. Specifically, the Montgomery County Hospital District has asserted that it
is a representative member of a “class of numerous hospital districts, counties, cities, municipal
corporations and other political subdivisions and local governmental entities or combination of
such entities. ” See Amended Motion to Intervene at p.4. The interests of these amici are not and
cannot be adequately represented by the Montgomery County Hospital District. The interests of
Texas counties, and the damages suffered by counties as a result of the conduct of defendant, are
separate and distinct from the alleged damages of the Montgomery County Hospital District. The
statutory obligations of counties are different from the obligations imposed upon hospital districts.
Counties should not be compelled to participate in this action under a hospital district
representative Therefore, while amici do not oppose the District’s Motion to Intervene, amici do
oppose the District’s request for certification as a class representative

II.
INDIGENT HEALTH CARE

The Indigent Health Care and Treatment Act requires Texas counties to provide health
care assistance to certain indigent residents. See TeX. Health & Safety Code Ann. §§61.021,

61.022. Pursuant to the Act, the counties must provide: 1) inpatient and outpatient hospital

 

- 98 O
5 1 II| ll 7 F 7 P 4()f6PGQ€lD#. 4 1
WI\/l DOCU € 1196 lied 03/1 /98 age
- - - 009 -DF-H
CB.S€ .96 CV O

exceeding 10% of some counties’ total budgets. In this lawsuit, the State of Texas has not

Case 5:96-cV-00091-DF-HWI\/| Document 1967 Filed 03/17/98 Page 5 of 6 Page|D #: 49871

consulted regarding either the filing or settling of this suit, and the amici counties have neither
requested or authorized the Attorney General to represent their interests in this matter. Therefore,
the Attorney General has not represented these counties and cannot settle their claims.

The second problem with the Settlement Agreement is that the Attorney General proposes
a specific allocation of the settlement proceeds. As pointed out by other parties, the Attorney
General lacks authority to allocate and expend the settlement proceeds. This court should not
sanction terms of the agreement that are contrary to law.
In addition, a review of the settlement agreement establishes that the proposed allocation of
settlement sums does not compensate Texas counties for any damages incurred as a result of the
conduct of Defendants. In this regard, the Attorney General has informally communicated that it
was never his intention to settle these claims for counties. Certainly, the counties were not a part
of any settlement negotiations Therefore, the Settlement Agreement should not erroneously
indicate that it has determined county claims.

IV.
SUGGESTIONS OF THE AMICI

The amici acknowledge the significance of this lawsuit and the potential benefits to the
State and its citizens from the proposed settlement. However, the amici counties, as political
subdivisions, advise the court that this Settlement Agreement is unlawful to the extent it purports
to settle the claims of Texas counties, The Court should amend the judgment to reflect that the
claims of Texas counties have not been litigated or settled in this case.

Alternatively, it is inappropriate for the court to adopt, as part of its judgment, the specific
proposal of the Attorney General for the disposition of the settlement f`unds. Under the Texas

Constitution, the Attorney General has no authority to allocate these funds. Moreover, his

 

Case 5:96-cV-00091-DF-HWI\/| Document 1967 Filed 03/17/98 Page 6 of 6 Page|D #: 49872

specific proposals do not address or compensate those, such as amici counties, who have also
been damaged as a result of the conduct of Defendants. From the language of the agreement,
these proposed allocations may be adjusted. The settlement agreement provides that the parties
“anticipate that the funds will be so allocated” or for such other purposes as the State of Texas
may determine. If the court finds the settlement should be approved, Amici counties request that
the Court amend the judgment to specify that the specific proposal for the allocation of the funds

is not approved by the court’s judgment.

Respectfully submitted,

ALLISON, BASS & ASSOCIATES, L.L.P.
Wahrenberger House

208 W. 14th Street

Austin, Texas 78701

(512) 482-0701 telephone
(512) 480-0902 facsimile

’\
B@@»~`$ @/‘_\
ames P. Allison
State Bar No. 01090000
C. Rex Hall, Jr.
State Bar No. 08745900

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was forwarded via certified
mail, return receipt requested, to all known counsel of record on this/f '¢» day of March, 1998:

®d»-\ c %\

Jaines P. Allison
C. Rex Hall, Jr.

